 Case 20-41570      Doc 72    Filed 04/19/21 Entered 04/19/21 13:15:41        Desc Main
                                Document     Page 1 of 1




                   IN THE UNITED STATES BANKRUPTCY COURT
                      FOR THE EASTERN DISTRICT OF TEXAS
                               SHERMAN DIVISION

 IN RE:
                                              CASE NO. 20-41570
 RONALD WAYNE PETTIT                          Chapter 7
     Debtor.


 WITHDRAWAL OF SECOND AMENDED MOTION TO RECONSIDER OR MODIFY
AGREED ORDER MODIFYING ORDER ON TRUSTEE’S AMENDED OBJECTION TO
                           CLAIMS

TO THE HONORABLE BRENDA T. RHOADES, BANKRUPTCY JUDGE:

       COMES NOW RONALD WAYNE PETTIT, and withdraws his SECOND

AMENDED MOTION TO RECONSIDER OR MODIFY AGREED ORDER MODIFYING

ORDER ON TRUSTEE’S AMENDED OBJECTION TO CLAIMS (Doc. No. 63) and the

motions that it amended.

                                                 Respectfully Submitted,

                                                 LUSKY & ASSOCIATES, PC

                                                 /s/ Herman A. Lusky
                                                 Herman A. Lusky 12702000
                                                 5473 Blair Rd.
                                                 Dallas, TX 75231
                                                 Voice: 972-386-3900
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                              CERTIFICATE OF SERVICE

       I certify that on the date filed, a true and correct copy of above and foregoing was
served upon the Chapter 7 Trustee, the United States Trustee, all parties requesting
notice by ECF Notification System.


                                                 /s/ Herman A. Lusky
